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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ART AKIANE LLC,

         Plaintiff,

 v.                                                Civil Action No.: 19-cv-02952

 ART & SOULWORKS LLC,                              Judge: Hon. Edmond E. Chang
 CAROL CORNELIUSON, and
 CARPENTREE, INC.

         Defendants.

 ART & SOULWORKS LLC, and                          EXPEDITED RULING
 CAROLYNE CORNELIUSON,                             REQUESTED

         Defendants-Counter-Plaintiffs,

 v.

 ART AKIANE LLC,

         Plaintiff-Counter-Defendant,

 and

 AKIANE ART GALLERY, LLC, and
 AKIANE KRAMARIK,

          Counter-Defendants.

      PLAINTIFF ART AKIANE LLC’S MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to Fed. R. Civ. P. 65, Plaintiff Art Akiane LLC (“Art Akiane”) moves the Court

for the entry of a preliminary injunction to enjoin Defendants Art & SoulWorks LLC (“ASW”)

and Carolyne Corneliuson (“Corneliuson”):

        1.      From copying, displaying or distributing digital images of Art Akiane’s

copyrighted works, and modifying, creating derivative works or reproducing such materials on its

webpages or social media accounts;

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       2.      From copying, displaying, making derivative works of or distributing videos of

Akiane’s Works;

       3.      From using Akiane’s likeness or identity to promote its webpages and

social media; and

       4.      From marketing, holding themselves out as, or representing that they are the origin

of, affiliated with, or endorsed or approved by Art Akiane or its works.

       This Motion is supported by Art Akiane’s Memorandum of Law in Support of its Motion

for Preliminary Injunction with attached exhibits, the declaration of Rashad A. Simmons,

declaration of Akiane Kramarik, and declaration of Mark Kramarik, filed contemporaneously

therewith.

Dated: October 7, 2019                           Respectfully submitted,

                                                 ART AKIANE LLC,


                                                 By: s/ Adam Wolek
                                                     Adam Wolek
                                                     Marcus Harris
                                                     Rashad A. Simmons
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                                                     Counsel for Plaintiff and Counter-
                                                     Defendant Art Akiane LLC




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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 7, 2019, the foregoing was filed with the Clerk of Court

via CM/ECF, which provided notice of the same to all parties who have made an appearance in

this case.



                                                    s/ Adam Wolek




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